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                EXHIBIT 13
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          AI Overview                                                                                                                                                          Learn more

    Lithium thionyl chloride (LiSOCl2) batteries are a type of primary cell battery
                                                                                                                      What Are Lithium Thionyl Chloride Batteries? Main
    that are used in many industrial applications:                                                                    Advantages
    Features                                                                                                          Lithium thionyl chloride or Li-SOCl2 are primary cell batteries.
    These batteries are non-rechargeable, have a high energy density, and can operate in                              In this case, electrolyte based on sulfonated thionyl chloride…
    a wide temperature range. They also have a low self-discharge rate, meaning they can                                 Tadiran Batteries
    retain their charge for long periods of time.

    Uses                                                                                                              Advantages and Special Characteristics of Lithium
    Lithium thionyl chloride batteries are used in many industries, including aerospace,                              Thionyl ...
    military, vehicle, and medical. They are also used in gas meters, tracking devices, and                           Sep 4, 2019 — Lithium thionyl chloride batteries (Li/SOCl₂)
    industrial equipment.                                                                                             belong to the lithium primary cell family. Unlike lithium ion or…
                                                                                                                         Jauch
    Construction
    Lithium thionyl chloride batteries can be constructed in two ways: spiral-wound or
    bobbin-type. Bobbin-type batteries are better for long operating cycles and low-pulse                             Lithium Thionyl Chloride Battery - EaglePicher
    applications, while spiral-wound batteries are better for high pulse requirements.                                Technologies
                                                                                                                      Long-shelf life (15+ years) Flat discharge curve. Wide operating
    Safety
                                                                                                                      temperature range. Custom packaging available.
    Lithium thionyl chloride batteries can be dangerous if handled improperly and can
                                                                                                                         EaglePicher Technologies
    cause damage, injuries, and environmental issues.


                                                                                                                                                    Show all




    Generative AI is experimental.




    Lithium thionyl chloride or Li-SOCl2 are primary cell batteries.
    In this case, electrolyte based on sulfonated thionyl chloride
    serves as the positive electrode. The main difference between
    this and other lithium battery types is that this type cannot be
    recharged once discharged.
           Tadiran Batteries GmbH
           https://tadiranbatteries.de › lithium-thionyl-chloride

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    cycles and low-pulse requirements. Examples include: gas meters.
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    Things to know
    Pros and cons
    Lithium thionyl chloride battery advantages and disadvantages

    Hazards
    Lithium thionyl chloride battery hazards

    Disadvantages
    What are the disadvantages of ionic lithium batteries

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    3 types of lithium batteries

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    Lithium thionyl chloride battery shelf life

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          Defense Technical Information Center (.mil)
          https://apps.dtic.mil › sti › pdfs › ADP000960 PDF

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    and low discharge rate applications, has the highest demon-.
    13 pages


          Wikipedia
          https://en.wikipedia.org › wiki › Thionyl_chloride

    Thionyl chloride
    Thionyl chloride is an inorganic compound with the chemical formula SOCl 2. It is a moderately
    volatile, colourless liquid with an unpleasant acrid odour.


          Jauch Quartz GmbH
          https://www.jauch.com › blog › advantages-and-special...

    Advantages and Special Characteristics of Lithium Thionyl ...
    Sep 4, 2019 — Lithium thionyl chloride batteries are very durable and have a very good shelf
    life. The self-discharge rate of only 1% per year speaks for itself.




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             Zwayn
             https://www.zwaynenergy.com › news-center › what-is-...

    What is a lithium thionyl battery?
    Oct 31, 2022 — The lithium thionyl chloride battery is a type of battery that falls into the
    category of primary lithium battery conversions.


             Ultralife Corporation
             https://www.ultralifecorporation.com › lithium-thi... PDF

    Lithium Thionyl Chloride Battery Selection Considerations
    Jun 21, 2021 — Attempting to recharge a primary Lithium cell can cause reverse voltage, which
    can lead to dangerous pressure venting or explosion. Consequently ...


             EaglePicher Technologies
             https://www.eaglepicher.com › battery-chemistries › lith...

    Lithium Thionyl Chloride Battery Technology
    Lithium thionyl chloride (Li-SOCl2) batteries are not rechargeable. They belong to the
    category of primary or non-rechargeable batteries. This means that once ...


             Tenergy Power
             https://power.tenergy.com › primary-high-energy-lithiu...

    Tenergy D 3.6V 19Ah Lithium thionyl chloride Battery
    Summarized Features and Benefits: · Ultra High Energy Density D sized Primary Lithium
    Thionyl Chloride battery · Perfect battery choice for powering wireless ...
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             batteriesinaflash.com
             https://www.batteriesinaflash.com › lithium-thionyl-chlor...

    Lithium Thionyl Chloride Batteries by Saft, Sanyo and Xeno
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